




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS





MANOJ BHARGAVA,


                                    Appellant,


v.


CUSTOM NUTRITION
LABORATORIES, LLC.,


                                    Appellee. 

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No. 08-09-00016-CV



Appeal from


 County Court at Law No 5


of Dallas County, Texas


(TC # CC-07-14515-E)




MEMORANDUM  OPINION



	Pending before the Court is Appellant's unopposed motion to dismiss the appeal pursuant
to Tex.R.App.P. 42.1(a)(1) because the trial court has vacated the order which Appellant sought to
appeal.  When the judgment of this Court can have no effect on an existing controversy, a case
becomes moot and should be dismissed.  See F.D.I.C. v. Nueces County, 886 S.W.2d 766, 767 (Tex.
1994); Restrepo v. First Nat'l Bank of Dona Ana County, New Mexico, 888 S.W.2d 606, 607
(Tex.App.--El Paso 1994, no writ). We therefore grant the motion and dismiss the appeal.  Costs are
taxed against Appellant.  See Tex.R.App.P. 42.1(d).


April 2, 2009						                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Rivera, JJ.


